
I agree with the majority that a finding of an adoptive resource is not required in order to terminate parental rights and, therefore, the judgment is due to be reversed and the case remanded for further proceedings to determine whether the adoptive parents' parental rights should be terminated.
However, on remand, I would further instruct the trial court to consider the maternal aunt's petition for custody and the tribe's petition to intervene when making its decision. The fact that the children's maternal aunt has petitioned for custody and that the tribe is seeking to intervene in the case to help determine what would be in the children's best interest indicates that there are potential adoptive resources for the children. Additionally, the record reveals that the family that is adopting the three girls has indicated a possible willingness to adopt the boys in the future.